Case 9:16-cv-81992-KAM Document 5 Entered on FLSD Docket 12/15/2016 Page 1 of 4


                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                CASE NO. 16-81992-CIV-MARRA

 BRANDON LEIDEL, individually and on
 behalf of all others similarly situated, and
 JAMES D. SALLAH, ESQ. as receiver/
 corporate monitor of Project Investors, Inc.,
 d/b/a Cryptsy,

        Plaintiff,
 vs.

 COINBASE, INC., a Delaware corporation
 d/b/a GLOBAL DIGITAL ASSET EXCHANGE
 (GDAX),

       Defendants.
 _____________________________________/

  ORDER REQUIRING COUNSEL TO CONFER, FILE JOINT SCHEDULING REPORT
                  AND FILE JOINT DISCOVERY REPORT

        THIS ORDER has been entered upon the filing of the complaint. Plaintiff’s counsel is

 hereby ORDERED to forward to all defendants, upon receipt of either an answer or a motion

 pursuant to Fed. R. Civ. P. 12(b), a copy of this order.

        It is further ORDERED:

        1. Pursuant to Rule 4(m) of the Federal Rules of Civil Procedure, defendants must be

 served within 90 days after the complaint is filed.

        2. Every motion when filed shall be accompanied by a proposed order, except for motions

 to dismiss and motions for summary judgment. Courtesy copies of proposed orders should be

 sent to marra@flsd.uscourts.gov in either Word or Wordperfect format. The case number along

 with the words, "proposed order," should be in the subject heading.

        3. Pretrial discovery in this case shall be conducted in accord with Local Rules 16.1 and

 26.1, and the Federal Rules of Civil Procedure.
Case 9:16-cv-81992-KAM Document 5 Entered on FLSD Docket 12/15/2016 Page 2 of 4



        4. Pursuant to Rule 26(f) of the Federal Rules of Civil Procedure, unless this action is

 excluded under Rule 26(a)(B), the parties must confer at least twenty-one (21) days before the

 earlier of 90 days after any defendant has been served with the complaint or 60 days after any

 defendant has appeared, to consider the nature and basis of their claims and defenses and the

 possibilities for a prompt settlement or resolution of the case; to make or arrange for the

 disclosures required by Rule 26(a)(1); to develop a proposed discovery plan that indicates the

 parties’ views and proposals concerning the matters listed in Rule 26(f); and to discuss a joint

 proposed scheduling order.

        5. The parties are jointly responsible for submitting a written report of this conference

 outlining the proposed discovery plan and joint proposed scheduling order within 14 days after

 the conference. This report shall address all items set forth in Local Rule 16.1(a)-(b) and shall

 indicate the proposed month and year for the trial plus the estimated number of trial days

 required, as well as an indication of whether the trial is to be a Jury trial or Bench trial.

        6. Failure of counsel or unrepresented parties to file a discovery plan report or joint

 scheduling report may result in dismissal, default, and the imposition of other sanctions including

 attorney’s fees and costs.

        NOTICE REGARDING VIDEO RECORDING:

        The Southern District of Florida is participating in a national pilot project for video

 recording proceedings in certain civil cases, as described more fully in Administrative Order

 2012-001 posted on the Court's website. The undersigned judge is participating in this project.

 Hence, the undersigned intends to video record all trials and evidentiary hearings in his civil

 cases, subject to the availability of the courtroom that contains the requisite recording equipment,

 unless parties or witnesses in their cases object. In addition, any other proceedings in the


                                                   2
Case 9:16-cv-81992-KAM Document 5 Entered on FLSD Docket 12/15/2016 Page 3 of 4



 undersigned 's cases may be recorded where the parties request or the public (with the consent of

 the parties) request.

 1.      It is necessary that parties either consent or object to the video recording of each

         proceeding. Parties should submit either a PARTY RESPONSE TO REQUEST FOR

         VIDEO RECORDING form or a REQUEST TO EXEMPT WITNESS(ES) FROM

         VIDEO RECORDING form for each proceeding. They must then fill out the form

         indicating whether or not they consent to video recording, and return it to the court by

         five (5) days prior to any hearing. The forms can be found on the website below. A form

         must be submitted for each hearing.


 2.      Non-parties may request video recording of proceedings by submitting a REQUEST FOR

         VIDEO RECORDING form.


 Unless otherwise ordered, executed forms should be returned via e-mail pursuant to instructions

 found on the Court's website: www.flsd.uscourts.gov as well as a courtesy copy sent to

 marra@flsd.uscourts.gov. Further questions regarding the operation of this pilot project, how

 parties can submit forms, or how non-parties can request video recording, should be directed to

 the pilot liaison, Operations Supervisor John Ditullio, who can be reached at (561)803-3411 or

 John_Ditullio@FLSD.uscourts.gov.

         DONE AND SIGNED in Chambers at West Palm Beach, Palm Beach County, Florida,

 this 15th day of December, 2016.



                                                _______________________________________
                                                KENNETH A. MARRA
                                                United States District Judge


                                                   3
Case 9:16-cv-81992-KAM Document 5 Entered on FLSD Docket 12/15/2016 Page 4 of 4



 Copies furnished to:

 All counsel




                                       4
